      Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 1 of 11




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


FIRST CHOICE FEDERAL CREDIT UNION,       Civil No. 2:16-cv-00506-NBF-MPK
AOD FEDERAL CREDIT UNION, TECH
CREDIT UNION, VERIDIAN CREDIT
UNION, SOUTH FLORIDA EDUCATIONAL
FEDERAL CREDIT UNION, PREFERRED
CREDIT UNION, ALCOA COMMUNITY            DECLARATION OF GARY F. LYNCH
FEDERAL CREDIT UNION, ASSOCIATED         IN SUPPORT OF PLAINTIFFS’
CREDIT UNION, CENTRUE BANK,              UNOPPOSED MOTION FOR
ENVISTA CREDIT UNION, FIRST NBC          PRELIMINARY APPROVAL OF
BANK, NAVIGATOR CREDIT UNION, THE        CLASS ACTION SETTLEMENT
SEYMOUR BANK, FINANCIAL
HORIZONS CREDIT UNION, NUSENDA
CREDIT UNION, GREATER CINCINNATI
CREDIT UNION, KEMBA FINANCIAL
CREDIT UNION, WRIGHT-PATT CREDIT
UNION, and MEMBERS CHOICE CREDIT
UNION, on Behalf of Themselves and All
Others Similarly Situated,

and

CREDIT UNION NATIONAL
ASSOCIATION, GEORGIA CREDIT UNION
AFFILIATES, INDIANA CREDIT UNION
LEAGUE, MICHIGAN CREDIT UNION
LEAGUE, and OHIO CREDIT UNION
LEAGUE,

                       Plaintiffs,

      v.

THE WENDY’S COMPANY, WENDY’S
RESTAURANTS, LLC, and WENDY’S
INTERNATIONAL, LLC,

                       Defendants.
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 2 of 11




       I, Gary F. Lynch, pursuant to 28 U.S.C. §1746, declare as follows:

       1.      I am an attorney licensed in Pennsylvania and New York and have been admitted

to practice before the Supreme Court of the United States and numerous federal appellate and

district courts, including this Court. I have been appointed by this Court to serve as Co-Lead

Counsel for Plaintiffs1 and have been active in all aspects of this Litigation. I submit this

Declaration in support of Plaintiffs’ Unopposed Motion for Preliminary Approval of Class Action

Settlement (the “Declaration”). The information set forth in this Declaration is based upon my

personal knowledge.

       2.      I am a founding member of the law firm of Carlson Lynch Sweet Kilpela &

Carpenter, LLP (“Carlson Lynch” or the “Firm”).

       3.      Carlson Lynch was co-founded in 2004 as Carlson Lynch LTD. The Firm was

restructured and renamed Carlson Lynch Sweet & Kilpela, LLP in 2014. An additional named

partner was added in 2016 and the firm was renamed Carlson Lynch Sweet Kilpela & Carpenter,

LLP.

       4.      Prior to my involvement in the Firm, I was a partner at Lynch & Kunkel LLP and

Gary F. Lynch, P.C. I began my legal career as an associate at Reed Smith, LLP (formerly Reed

Smith Shaw & McClay) (“Reed Smith”) in 1989, after graduating from the University of

Pittsburgh School of Law.

       5.      Throughout my career (since leaving Reed Smith), my law practice has focused on

representing plaintiffs in complex civil litigation. For the last several years, I have spent the bulk

of my professional time representing individual and institutional plaintiffs in class action and



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       All capitalized terms not defined herein have the same meaning as those defined in the
Settlement Agreement and Release (“Settlement” or “Settlement Agreement”) filed
contemporaneously herewith.


                                                  1
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 3 of 11




multi-district litigation throughout the country and am currently serving, or have served, as lead,

co-lead, or in other leadership positions in numerous federal and state class actions and multi-

district proceedings, including: In re Equifax, Inc., Customer Data Sec. Breach Litig., No. 1:17-

md-02800 (N.D. Ga.) (appointed co-lead MDL counsel on behalf of financial institution plaintiffs);

In re Home Depot Data Breach Litig., No. 1:14-md-2583 (N.D. Ga.) (same); In re Target Stores

Data Breach Litig., No. 0:14-md-02522 (D. Minn.) (appointed to overall executive committee in

a large consolidated MDL stemming from the retailer’s 2013 data breach, final approval granted

to two settlements); Dittman v. UPMC d/b/a The Univ. of Pittsburgh Med. Ctr., No. GD14-003285

(Pa. Ct. Com. Pl.) (lead counsel on behalf of plaintiffs after obtaining reversal in the Pennsylvania

Supreme Court); In re FedLoan Student Loan Servicing Litig., No. 2:18-md-02833-CDJ (E.D. Pa.)

(appointed MDL co-lead counsel); and Rodriguez v. CitiMortg., Inc., No. 1:11-cv-04718

(S.D.N.Y) (appointed tri-lead counsel).

       6.      I make this Declaration in support of the proposed Settlement Agreement reached

between the Parties after extensive arm’s-length negotiation, a true and accurate copy of which is

being filed concurrently herewith. Based upon my experience serving as lead counsel, and in other

leadership positions, in class action litigation, it is my opinion that the proposed Settlement in this

Litigation is fair, adequate, and reasonable, so as to satisfy the requirements for preliminary and,

ultimately, final approval pursuant to Fed. R. Civ. P. 23. This opinion is shared by Erin Green

Comite of Scott+Scott Attorneys at Law LLP (“Scott+Scott”), who serves as my Co-Lead Counsel

for Plaintiffs. As previously set forth for the Court in connection with the application for the

appointment of interim co-lead counsel, Ms. Comite also is well-experienced in class action

litigation, having served in several leadership positions. (See ECF Nos. 15 at 9-10, 15-1, Ex. B).




                                                  2
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 4 of 11




       7.      The first complaint in this Litigation was filed on April 25, 2016. Thereafter, on

July 22, 2016, Plaintiffs filed the operative Complaint, which asserts claims for negligence,

negligence per se, violation of the Ohio Deceptive Trade Practices Act (“ODTPA”), Ohio Code

§§4165.01, et seq., and declaratory and injunctive relief. (ECF No. 32). On August 22, 2016,

Defendants moved to dismiss the Complaint (the “Motion to Dismiss”). (ECF No. 53). On

February 13, 2017, Chief Magistrate Judge Kelly issued a Report and Recommendation,

recommending that the Court deny the Motion to Dismiss. (ECF No. 80). On March 31, 2017,

the Court adopted the Report and Recommendation and denied Wendy’s Motion to Dismiss. (ECF

No. 88).

       8.      Subsequent to the denial of the Motion to Dismiss, the Parties agreed to seek a

resolution of the case through mediation, and on May 15, 2017, the Parties attended a full-day

mediation session before the Honorable Edward Infante in San Francisco, California. The session

did not result in a settlement, but the Parties agreed to return for another mediation session after

conducting discovery.

       9.      The Parties engaged in significant discovery.        In particular, Plaintiffs served

extensive document requests in response to which Defendants produced millions of pages of

documents, which Plaintiffs reviewed.           Plaintiffs also deposed Defendants’ corporate

representative pursuant to Fed. R. Civ. P. 30(b)(6). Additionally, Plaintiffs served subpoenas on

several third parties, including the major payment card brands MasterCard and Visa, and reviewed

thousands of pages that were produced in response. Similarly, Defendants served each Financial

Institution Plaintiff with extensive document requests in response to which Plaintiffs produced

thousands of pages of documents. Defendants deposed 16 corporate witnesses, which were

designated by 15 of the Financial Institution Plaintiffs pursuant to Fed. R. Civ. P. 30(b)(6).




                                                 3
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 5 of 11




       10.     On January 19, 2018, Plaintiffs filed a motion seeking to apply Ohio law to

Plaintiffs’ claims on a nationwide basis (ECF No. 131), which Wendy’s opposed. (ECF No. 139).

On May 9, 2018, Chief Magistrate Judge Kelly issued a Report and Recommendation,

recommending that the Court grant the Motion for Application of Ohio Law, as to the negligence

and negligence per se claims, and deny it as to the ODTPA claim to the extent that any Plaintiffs

not located in Ohio sought to assert that claim. (ECF No. 147 at 14). District Judge Nora Barry

Fischer adopted the Report and Recommendation on June 6, 2018 (ECF No. 152), and shortly

thereafter, the Parties were ordered to participate in another alternative dispute resolution process.

(ECF No. 153). Since Judge Infante, the original mediator, had by then resumed his position as a

Magistrate Judge for the Central District of California, the Parties arranged for the Honorable

Diane M. Welsh (Ret.) to serve as the mediator. The Parties attended two full-day sessions before

Judge Welsh, on August 29, 2018 and November 16, 2018, in Philadelphia, Pennsylvania. A

settlement-in-principle was achieved shortly after the November 16 session.

       11.     Two representatives of the Financial Institution Plaintiffs, Susan Bradley of

Plaintiff Members Choice Credit Union and Greg Slessor of Plaintiff Veridian Credit Union,

attended the August 29, 2018 mediation. In support of their mediation positions, the Parties drafted

detailed mediation briefs that explored the strengths and weaknesses of each side’s case, including

issues of liability, class certification, and proof of damages, and attached numerous exhibits. The

Parties also participated in numerous direct discussions to facilitate and supplement the in-person

mediation sessions before Judge Welsh.

       12.     The Parties did not negotiate the amount of Class Counsel’s fees and expenses or

Service Awards to the Settlement Class Representatives until after the key provisions of the

Settlement, including the amount of relief to the Settlement Class, was agreed upon.




                                                  4
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 6 of 11




       13.     Under the Settlement Agreement, Defendants will create a non-reversionary

Settlement Fund of $50 million in exchange for a release of all claims against Wendy’s Franchisees

arising from third-party criminal cyberattacks of certain of Wendys’ independently owned and

operated franchisee restaurants involving malware variants targeting customers’ payment card

information that Wendy’s reported in 2016 (the “Data Breach”). The Settlement Fund will be used

to pay: (1) disbursements to Settlement Class Members that file approved claims; (2) the Costs of

Settlement Administration and any taxes due on the Settlement Fund account; (3) attorneys’ fees,

costs, and expenses to Class Counsel in amounts approved by the Court; and (4) Service Awards

to the Settlement Class Representatives in amounts approved by the Court. Wendy’s also will

adopt or maintain certain reasonable safeguards to manage its data security risks. There are no

other agreements made in connection with the Settlement. Each named-Plaintiff has consented to

the submission of this proposed Settlement for the Court’s approval.

       14.     Based upon discovery conducted by Plaintiffs, as well as information exchanged

during the mediation process, Plaintiffs estimate that approximately 18 million payment cards were

exposed in the Data Breach and, accordingly, will be included in the Settlement. These 18 million

payment cards were issued by approximately 7,500 financial institutions. Under the proposed

Distribution Plan that will govern payments from the Settlement Fund, Settlement Class Members

that file an Approved Claim will receive a cash payment award per Claimed-On Card without

having to submit documentation or prove their losses. The amount of the cash payment will

depend on the total number of eligible payment cards for which an Approved Claim is submitted

by Settlement Class Members, the Costs of Settlement Administration, taxes paid on the

Settlement Fund, and the amount of attorneys’ fees, costs, and expenses and Service Awards

approved by the Court. By way of example, if valid claims are submitted for all eligible cards, it




                                                5
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 7 of 11




is estimated that Settlement Class Members could receive approximately $2.00 per eligible

payment card. If, for example, 40% of eligible payment cards are submitted, then Settlement Class

Members could receive approximately $4.80 per eligible payment card.

       15.     In the context of data breach litigation pertaining to payment cards, this Settlement

is unique in that it is the only nationwide class action settlement achieved in a case where financial

institutions did not receive any compensation through the card brand recovery processes, such as

Visa’s Global Compromised Account Recovery (“GCAR”) program and MasterCard’s Account

Data Compromise (“ADC”) program, in connection with this Data Breach. This Settlement

represents the sole relief available to the Settlement Class Members as a result of the Data Breach.

       16.     For purposes of effectuating individualized, direct Mail Notice, Class Counsel have

arranged for Visa and MasterCard to identify each financial institution that issued an Alerted on

Payment Card and to submit to the Settlement Administrator the legal address of such financial

institutions. Additionally, during the discovery and/or mediation process, Class Counsel obtained

information sufficient to identify each financial institution that issued an Alerted on Payment Card

for payment cards branded by American Express, Discover, and JCB. Class Counsel will provide

relevant contact information to the Settlement Administrator for financial institutions that issued

American Express, Discover, and JCB Alerted on Payment Cards. Class Counsel believe that the

proposed Notice Plan represents the best practicable Notice to the Settlement Class Members.

       17.     Class Counsel have reviewed the proposed Claim Form to be used by the Settlement

Class Members to submit their claims. The Claim Form is simple and straightforward and requires

only the provision of very basic information. Based upon my experience with the settlement of

other class action data breach cases on behalf of financial institutions, Class Counsel believe that

the simplicity of the Claim Form will increase participation from Settlement Class Members.




                                                  6
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 8 of 11




       18.     The lawyers who were appointed by the Court to leadership positions on behalf of

Plaintiffs are abundantly qualified and experienced to represent the Settlement Class, including

specifically, Erin Green Comite, my Co-Lead Counsel. The background and firm profiles of both

my firm and Ms. Comite’s firm, Scott+Scott, as well as the profiles of the attorneys and firms

appointed to Plaintiffs’ executive committee, were previously provided to the Court in connection

with the application for the appointment of interim lead counsel and Plaintiffs’ executive

committee. (ECF No. 15-1, Exs. A-G). These materials provide additional details regarding our

qualifications to serve as Class Counsel, and the qualifications of the executive committee

members to serve in their appointed roles.

       19.     In this case, Ms. Comite and I, along with our respective law firms, Scott+Scott and

Carlson Lynch, have done substantial work in vigorously pursuing the interests of our clients and

the class they sought to represent throughout the Litigation. We were assisted in this effort by a

host of additional law firms representing Plaintiffs, which, together with our firms, have extensive

experience litigating complex and class actions and have demonstrated particular success in

litigating data security breach class actions. We have aggressively litigated this action – briefing

numerous substantive issues, achieving early resolution of the choice of law issue to set the stage

for class certification, managing the review of millions pages of documents produced by

Defendants and third parties, and drafting comprehensive mediation statements assessing the legal

and factual strengths and weaknesses of the Litigation – and thus have adequate information on

which to negotiate and evaluate this Settlement. The group of lawyers and law firms representing

Plaintiffs in this matter are at the forefront of the fast-developing area of data breach law and

litigation. Had the action not settled, counsel for Plaintiffs were prepared to devote substantial




                                                 7
        Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 9 of 11




additional time and effort pressing Plaintiffs’ claims through class certification, trial, and any

subsequent appeal.

       20.     The Settlement Class Representatives have demonstrated their adequacy in

selecting well-qualified Class Counsel, monitoring the Litigation, and participating in discovery

and the mediation process. The Settlement Class Representatives were highly cooperative in

making themselves available for document production and/or deposition testimony. Additionally,

each Settlement Class Representative actively communicated with Class Counsel for purposes of

advising and consulting with regard to the consequences of the Data Breach and their resulting

damages. These communications were crucial to the development of a workable damage model

to facilitate the mediation process.

       21.     Based on our experience and expertise, Class Counsel believe that the settlement is

fair, adequate, reasonable, an excellent result for the Settlement Class, and represents a desirable

resolution of this Litigation. Generally speaking, in the still developing area of data breach

litigation, there are many impediments to victory for a financial institution suffering harm in a data

breach, as well as significant impediments to class certification. In this case, all of these

uncertainties and impediments are present, as well as the additional issue presented by the fact that

this Data Breach occurred in the point-of-sale environment of Defendants’ independently owned

and operated franchisees. Given these litigation risks, this Settlement is an excellent result in a

complex, high-risk, hard-fought case that provides a substantial financial recovery for payment

card issuers that suffered losses as a result of the Data Breach.

       22.     Ms. Comite and I solicited, received, and reviewed bids from four different

settlement administration firms. Based on our review of the bids and credentials of these firms,

and subject to this Court’s approval, we believe the firm Analytics Consulting LLC (“Analytics”)




                                                  8
       Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 10 of 11




is well-suited to serve as the Settlement Administrator and will provide administration services at

a reasonable cost. Analytics is a well-known settlement administration firm that has successfully

administrated many class action settlements. I have worked with Analytics in other class action

settlements and have always been satisfied with its work.

       23.     Because the Settlement represents a fair and reasonable recovery on behalf of the

Plaintiffs and the proposed Settlement Class, Class Counsel believe that the Court should

preliminarily approve the Settlement and direct Notice to be issued to the Settlement Class.

       I declare under penalty of perjury that the foregoing is true and correct. This Declaration

was executed on February 13, 2019, in Pittsburgh, Pennsylvania.

                                                        /s/ Gary F. Lynch
                                                       Gary F. Lynch




                                                9
       Case 2:16-cv-00506-MPK Document 177 Filed 02/13/19 Page 11 of 11




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2019, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the email addresses denoted on the Electronic Mail Notice List.

                                                       /s/ Erin Green Comite
                                                      Erin Green Comite (pro hac vice)
                                                      SCOTT+SCOTT
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                                                      Counsel for Plaintiffs




                                                 10
